                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                HARRISONBURG DIVISION

  JOHN DOE 4, by and through his next )
  friend, NELSON LOPEZ, on behalf of         )
  himself and all persons similarly situated )
                                             )
          Plaintiffs,                        )
                                             )          Civil Action No. 5:17-cv-00097-EKD
  v.                                         )
                                             )
  SHENANDOAH VALLEY JUVENILE )
  CENTER COMMISSION,                         )
                                             )
          Defendant.                         )

                     DEFENDANT’S MOTION FOR SANCTIONS UNDER
                       FEDERAL RULE OF CIVIL PROCEDURE 16(f)

         Defendant Shenandoah Valley Juvenile Center Commission (“SVJC”), by counsel, and

  pursuant to Federal Rule of Civil Procedure 16(f), respectfully moves that the Court exclude the

  November 7, 2018 Supplemental Expert Report prepared by Plaintiff’s expert, Dr. Paul Diver, and

  any testimony related thereto, as a sanction for the Plaintiff’s failure to disclose the Supplemental

  Expert Report in a timely manner consistent with the Scheduling Order entered by this Court on

  August 22, 2018.

         The bases for this Motion are detailed in Defendant’s Memorandum in Support of this

  Motion, filed contemporaneously with this Motion.



                                                     Respectfully submitted,
                                                SHENANDOAH VALLEY JUVENILE
                                                     CENTER COMMISSION
                                                           By Counsel




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                                          CERTIFICATE

          I certify that on the 14th day of November, 2018, I electronically filed the forgoing

  document with the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to:


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